               Case 19-16478-elf                 Doc 30         Filed 11/15/19 Entered 11/15/19 15:27:37                            Desc Main
                                                                Document     Page 1 of 16
Fill in this information to identify your case and this filing:


Debtor 1          Antoine                                      Gardiner
                  __________________________________________________________________
                    First Name               Middle Name                Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name               Middle Name                Last Name


                                        Eastern District of Pennsylvania
United States Bankruptcy Court for the: ______________________________________

Case number         19-16478
                    ___________________________________________
                                                                                                                                         Check if this is an
                                                                                                                                             amended filing

Official Form 106A/B
Schedule A/B: Property                                                                                                                                  12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

Part 1:        Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.
    
    X    Yes. Where is the property?
                                                                 What is the property? Check all that apply.       Do not deduct secured claims or exemptions. Put
                                                                     Single-family home                           the amount of any secured claims on Schedule D:
      1.1. 1013   N 40th Street, Philadelphia, PA
           _________________________________________                 Duplex or multi-unit building
                                                                                                                   Creditors Who Have Claims Secured by Property.
           Street address, if available, or other description
                                                                     Condominium or cooperative                   Current value of the     Current value of the
                                                                     Manufactured or mobile home                  entire property?         portion you own?
             _________________________________________
                                                                     Land                                          180,000.00
                                                                                                                   $________________         180,000.00
                                                                                                                                            $_______________
                                                                 
                                                                 X    Investment property
             Philadelphia             PA
             _________________________________________
                                                                     Timeshare                                    Describe the nature of your ownership
             City                        State      ZIP Code                                                       interest (such as fee simple, tenancy by
                                                                     Other __________________________________     the entireties, or a life estate), if known.
                                                                 Who has an interest in the property? Check one.
                                                                                                                   Fee Simple Ownership
                                                                                                                   __________________________________________
             Philadelphia                                        
                                                                 X Debtor 1 only
             _________________________________________
             County                                              Debtor 2 only
                                                                 Debtor 1 and Debtor 2 only                       Check if this is community property
                                                                                                                       (see instructions)
                                                                 At least one of the debtors and another
                                                                 Other information you wish to add about this item, such as local
                                                                 property identification number: _______________________________
    If you own or have more than one, list here:
                                                                What is the property? Check all that apply.        Do not deduct secured claims or exemptions. Put
                                                                    Single-family home                            the amount of any secured claims on Schedule D:
      1.2. 1101   N 40th St
           ________________________________________                 Duplex or multi-unit building
                                                                                                                   Creditors Who Have Claims Secured by Property.
           Street address, if available, or other description
                                                                   Condominium or cooperative                     Current value of the     Current value of the
                                                                    Manufactured or mobile home                   entire property?         portion you own?
             ________________________________________
                                                                    Land                                           102,000.00
                                                                                                                   $________________         102,000.00
                                                                                                                                            $_________________
                                                                
                                                                X    Investment property
             Philadelphia             PA
             ________________________________________
                                                                    Timeshare
                                                                                                                   Describe the nature of your ownership
             City                    State   ZIP Code                                                              interest (such as fee simple, tenancy by
                                                                    Other __________________________________      the entireties, or a life estate), if known.
                                                                Who has an interest in the property? Check one.    Fee Simple Ownership
                                                                                                                   __________________________________________


             Philadelphia
                                                                
                                                                X Debtor 1 only
             ________________________________________
             County                                             Debtor 2 only
                                                                Debtor 1 and Debtor 2 only                        Check if this is community property
                                                                At least one of the debtors and another              (see instructions)

                                                                Other information you wish to add about this item, such as local
                                                                property identification number: _______________________________


   Official Form 106A/B                                         Schedule A/B: Property                                                              page 1
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Debtor 1          Antoine                       GardinerDocument
                  _______________________________________________________ Page 2 of 16                    19-16478
                                                                                    Case number (if known)_____________________________________
                  First Name    Middle Name          Last Name




                                                                 What is the property? Check all that apply.              Do not deduct secured claims or exemptions. Put

         1134 Marilyn Road
    1.3. ________________________________________
                                                                    Single-family home                                   the amount of any secured claims on Schedule D:
                                                                                                                          Creditors Who Have Claims Secured by Property.
         Street address, if available, or other description         Duplex or multi-unit building
                                                                    Condominium or cooperative                           Current value of the      Current value of the
                                                                                                                          entire property?          portion you own?
           ________________________________________                 Manufactured or mobile home
                                                                    Land                                                  130000.00
                                                                                                                          $________________          130000.00
                                                                                                                                                    $_________________

           Phila                    PA
           ________________________________________
                                                                 
                                                                 X   Investment property
           City                           State    ZIP Code         Timeshare
                                                                                                                          Describe the nature of your ownership
                                                                                                                          interest (such as fee simple, tenancy by
                                                                    Other __________________________________             the entireties, or a life estate), if known.
                                                                 Who has an interest in the property? Check one.
                                                                                                                         Fee Simple Ownership
                                                                                                                         __________________________________________

           Philadelphia
           ________________________________________              
                                                                 X Debtor 1 only
           County
                                                                 Debtor 2 only
                                                                 Debtor 1 and Debtor 2 only                              Check if this is community property
                                                                 At least one of the debtors and another
                                                                                                                              (see instructions)

                                                                 Other information you wish to add about this item, such as local
                                                                 property identification number: _______________________________
                                                                                          See Attachment 1: Additional Real Property
2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages                                  3,956,000.00
                                                                                                                                                    $_________________
   you have attached for Part 1. Write that number here. ...................................................................................... 




Part 2:     Describe Your Vehicles


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

   No
   
   X Yes

           Make:                      Chevrolet
                                      ______________             Who has an interest in the property? Check one.          Do not deduct secured claims or exemptions. Put
   3.1.

           Model:                     Cobalt
                                      ______________
                                                                 
                                                                  Debtor 1 only
                                                                                                                          the amount of any secured claims on Schedule D:
                                                                                                                          Creditors Who Have Claims Secured by Property.

                                      2006
                                                                 
                                                                  Debtor 2 only
           Year:                      ____________
                                                                 
                                                                  Debtor 1 and Debtor 2 only                              Current value of the      Current value of the
                                      145000                                                                              entire property?          portion you own?
           Approximate mileage:       ____________               
                                                                  At least one of the debtors and another
           Other information:
                                                                  Check if this is community property (see                1,000.00
                                                                                                                          $________________          1,000.00
                                                                                                                                                    $________________
                                                                     instructions)



   If you own or have more than one, describe here:

           Make:                      ______________             Who has an interest in the property? Check one.          Do not deduct secured claims or exemptions. Put
   3.2.

           Model:                     ______________
                                                                 
                                                                  Debtor 1 only
                                                                                                                          the amount of any secured claims on Schedule D:
                                                                                                                          Creditors Who Have Claims Secured by Property.
                                                                 
                                                                  Debtor 2 only
           Year:                      ____________
                                                                 
                                                                  Debtor 1 and Debtor 2 only
                                                                                                                          Current value of the
                                                                                                                          entire property?
                                                                                                                                                    Current value of the
                                                                                                                                                    portion you own?
           Approximate mileage: ____________                     
                                                                  At least one of the debtors and another
           Other information:
                                                                  Check if this is community property (see               $________________         $________________
                                                                     instructions)




Official Form 106A/B                                             Schedule A/B: Property                                                                    page 2
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Debtor 1           Antoine                       Gardiner Document
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                                                                                     Case number (if known)_____________________________________
                   First Name         Middle Name                Last Name




            Make:                            ______________                   Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   3.3.

            Model:                           ______________
                                                                              
                                                                               Debtor 1 only
                                                                                                                                                         the amount of any secured claims on Schedule D:
                                                                                                                                                         Creditors Who Have Claims Secured by Property.
                                                                              
                                                                               Debtor 2 only
            Year:                            ____________
                                                                              
                                                                               Debtor 1 and Debtor 2 only                                                Current value of the             Current value of the
                                                                                                                                                         entire property?                 portion you own?
            Approximate mileage: ____________                                 
                                                                               At least one of the debtors and another
            Other information:
                                                                               Check if this is community property (see                                 $________________                $________________
                                                                                   instructions)


            Make:                            ______________                   Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   3.4.

            Model:                           ______________
                                                                              
                                                                               Debtor 1 only
                                                                                                                                                         the amount of any secured claims on Schedule D:
                                                                                                                                                         Creditors Who Have Claims Secured by Property.
                                                                              
                                                                               Debtor 2 only
            Year:                            ____________
                                                                              
                                                                               Debtor 1 and Debtor 2 only                                                Current value of the             Current value of the
                                                                                                                                                         entire property?                 portion you own?
            Approximate mileage: ____________                                 
                                                                               At least one of the debtors and another
            Other information:
                                                                               Check if this is community property (see                                 $________________                $________________
                                                                                   instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
   
   X No
    Yes

            Make:       ____________________                                  Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   4.1.

            Model: ____________________                                       
                                                                               Debtor 1 only
                                                                                                                                                         the amount of any secured claims on Schedule D:
                                                                                                                                                         Creditors Who Have Claims Secured by Property.
                                                                              
                                                                               Debtor 2 only
            Year:       ____________
                                                                              
                                                                               Debtor 1 and Debtor 2 only                                                Current value of the             Current value of the
            Other information:                                                
                                                                               At least one of the debtors and another                                   entire property?                 portion you own?

                                                                               Check if this is community property (see                                 $________________                $________________
                                                                                  instructions)



   If you own or have more than one, list here:

            Make:       ____________________                                  Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   4.2.

            Model: ____________________                                       
                                                                               Debtor 1 only
                                                                                                                                                         the amount of any secured claims on Schedule D:
                                                                                                                                                         Creditors Who Have Claims Secured by Property.
                                                                              
                                                                               Debtor 2 only
            Year:       ____________                                                                                                                     Current value of the             Current value of the
                                                                              
                                                                               Debtor 1 and Debtor 2 only
                                                                                                                                                         entire property?                 portion you own?
            Other information:                                                
                                                                               At least one of the debtors and another

                                                                                                                                                         $________________                $________________
                                                                               Check if this is community property (see
                                                                                  instructions)




5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages                                                                       1,000.00
                                                                                                                                                                                         $_________________
   you have attached for Part 2. Write that number here ............................................................................................................................ 




Official Form 106A/B                                                           Schedule A/B: Property                                                                                           page 3
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Debtor 1            Antoine                       Gardiner
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                                                                                                            Case number (if known)_____________________________________
                    First Name            Middle Name                  Last Name




Part 3:        Describe Your Personal and Household Items

                                                                                                                                                                                                   Current value of the
Do you own or have any legal or equitable interest in any of the following items?                                                                                                                  portion you own?
                                                                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                                                                   or exemptions.

6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
       No
   
   X    Yes. Describe. ........          Household goods                                                                                                                                             4,000.00
                                                                                                                                                                                                    $___________________

7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
             collections; electronic devices including cell phones, cameras, media players, games
   
   X    No
       Yes. Describe. .........                                                                                                                                                                    $___________________

8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
             stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
   
   X No
    Yes. Describe. .........                                                                                                                                                                       $___________________

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
             and kayaks; carpentry tools; musical instruments
   
   X    No
       Yes. Describe. .........                                                                                                                                                                    $___________________

10. Firearms
   Examples: Pistols, rifles, shotguns, ammunition, and related equipment
   
   X No
    Yes. Describe. ..........                                                                                                                                                                      $___________________

11. Clothes
   Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
       No
   
   X    Yes. Describe. ..........clothes                                                                                                                                                             1,000.00
                                                                                                                                                                                                    $___________________


12. Jewelry
   Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
             gold, silver
   
   X    No
       Yes. Describe. ..........                                                                                                                                                                   $___________________

13. Non-farm animals
   Examples: Dogs, cats, birds, horses

   
   X    No
       Yes. Describe. ............                                                                                                                                                                 $___________________

14. Any other personal and household items you did not already list, including any health aids you did not list

   
   X    No
       Yes. Give specific
                                                                                                                                                                                                    $___________________
        information..................

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached                                                                                       5,000.00
                                                                                                                                                                                                    $______________________
   for Part 3. Write that number here ........................................................................................................................................................ 



Official Form 106A/B                                                                   Schedule A/B: Property                                                                                                   page 4
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Debtor 1            Antoine                       Gardiner Document
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                                                                                      Case number (if known)_____________________________________
                    First Name              Middle Name                       Last Name




Part 4:       Describe Your Financial Assets

Do you own or have any legal or equitable interest in any of the following?                                                                                                                                           Current value of the
                                                                                                                                                                                                                      portion you own?
                                                                                                                                                                                                                      Do not deduct secured claims
                                                                                                                                                                                                                      or exemptions.


16. Cash
   Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition


 X     No
     Yes .....................................................................................................................................................................    Cash: .......................     $__________________



17. Deposits of money
   Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
             and other similar institutions. If you have multiple accounts with the same institution, list each.
      No
   
   X   Yes .....................                                                                  Institution name:


                                             17.1. Checking account:                             Wells Fargo
                                                                                                 _________________________________________________________                                                              2,000.00
                                                                                                                                                                                                                       $__________________

                                             17.2. Checking account:                              _________________________________________________________                                                            $__________________

                                             17.3. Savings account:                               _________________________________________________________                                                            $__________________

                                             17.4. Savings account:                               _________________________________________________________                                                            $__________________

                                             17.5. Certificates of deposit:                       _________________________________________________________                                                            $__________________

                                             17.6. Other financial account:                       _________________________________________________________                                                            $__________________

                                             17.7. Other financial account:                       _________________________________________________________                                                            $__________________

                                             17.8. Other financial account:                       _________________________________________________________                                                            $__________________

                                             17.9. Other financial account:                       _________________________________________________________                                                            $__________________




18. Bonds, mutual funds, or publicly traded stocks
  Examples: Bond funds, investment accounts with brokerage firms, money market accounts

 X     No
     Yes ..................                Institution or issuer name:

                                             _________________________________________________________________________________________                                                                                 $__________________
                                             _________________________________________________________________________________________                                                                                 $__________________
                                             _________________________________________________________________________________________                                                                                 $__________________




19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
   an LLC, partnership, and joint venture

   
   X No                                      Name of entity:                                                                                                                         % of ownership:
   Yes. Give specific                      _____________________________________________________________________                                                                   ___________%                      $__________________
       information about
       them. ........................        _____________________________________________________________________                                                                   ___________%                      $__________________
                                             _____________________________________________________________________                                                                   ___________%                      $__________________




Official Form 106A/B                                                                            Schedule A/B: Property                                                                                                             page 5
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Debtor 1           Antoine                       GardinerDocument
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                                                                                                           _____________________________________
                   First Name            Middle Name            Last Name




20. Government and corporate bonds and other negotiable and non-negotiable instruments
   Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
   Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.


 X No
 Yes. Give specific                    Issuer name:
       information about
       them. ......................      ______________________________________________________________________________________             $__________________
                                         ______________________________________________________________________________________
                                                                                                                                            $__________________
                                         ______________________________________________________________________________________
                                                                                                                                            $__________________


21. Retirement or pension accounts
   Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
   
   X   No
      Yes. List each
       account separately. . Type of account:                      Institution name:

                                         401(k) or similar plan:   ___________________________________________________________________      $__________________

                                         Pension plan:             ___________________________________________________________________      $__________________

                                         IRA:                      ___________________________________________________________________      $__________________

                                         Retirement account:       ___________________________________________________________________      $__________________

                                         Keogh:                    ___________________________________________________________________      $__________________

                                         Additional account:       ___________________________________________________________________      $__________________

                                         Additional account:       ___________________________________________________________________      $__________________



22. Security deposits and prepayments
   Your share of all unused deposits you have made so that you may continue service or use from a company
   Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
   companies, or others

   
   X   No
      Yes ...........................                         Institution name or individual:

                                         Electric:             ______________________________________________________________________      $___________________
                                         Gas:                  ______________________________________________________________________      $___________________
                                         Heating oil:          ______________________________________________________________________      $___________________
                                         Security deposit on rental unit: _____________________________________________________________
                                                                                                                                           $___________________
                                         Prepaid rent:         ______________________________________________________________________
                                                                                                                                           $___________________
                                         Telephone:            ______________________________________________________________________
                                                                                                                                           $___________________
                                         Water:                ______________________________________________________________________
                                                                                                                                           $___________________
                                         Rented furniture:     ______________________________________________________________________
                                                                                                                                           $___________________
                                         Other:                ______________________________________________________________________
                                                                                                                                           $___________________


23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

   
   X   No
      Yes ...........................   Issuer name and description:
                                          _______________________________________________________________________________________          $__________________
                                         _______________________________________________________________________________________           $__________________
                                         _______________________________________________________________________________________           $__________________


Official Form 106A/B                                                        Schedule A/B: Property                                                   page 6
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Debtor 1           Antoine                       Gardiner
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                                                                                                                         _____________________________________
                   First Name             Middle Name           Last Name




24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
   26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
   
   X   No
      Yes .....................................   Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

                                                   ____________________________________________________________________________________                 $_________________
                                                   ____________________________________________________________________________________                 $_________________
                                                   ____________________________________________________________________________________                 $_________________


25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
   exercisable for your benefit

   
   X   No
      Yes. Give specific
       information about them. ..                                                                                                                       $__________________


26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
   Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
   
   X   No
      Yes. Give specific
       information about them. ..                                                                                                                       $__________________


27. Licenses, franchises, and other general intangibles
   Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

   
   X   No
      Yes. Give specific
       information about them. ..                                                                                                                       $__________________


Money or property owed to you?                                                                                                                          Current value of the
                                                                                                                                                        portion you own?
                                                                                                                                                        Do not deduct secured
                                                                                                                                                        claims or exemptions.

28. Tax refunds owed to you

   
   X   No
      Yes. Give specific information                                                                                         Federal:              $_________________
            about them, including whether
            you already filed the returns                                                                                     State:                $_________________
            and the tax years. ......................
                                                                                                                              Local:                $_________________


29. Family support
   Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
   
   X   No
      Yes. Give specific information. .............
                                                                                                                             Alimony:                   $________________
                                                                                                                             Maintenance:               $________________
                                                                                                                             Support:                   $________________
                                                                                                                             Divorce settlement:        $________________
                                                                                                                             Property settlement:       $________________

30. Other amounts someone owes you
   Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
             Social Security benefits; unpaid loans you made to someone else
   
   X   No
      Yes. Give specific information. ...............
                                                                                                                                                        $______________________



Official Form 106A/B                                                        Schedule A/B: Property                                                                page 7
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Debtor 1            Antoine                       Gardiner
                    _______________________________________________________          Document     Page 8 of 16
                                                                                                            Case number (if known)19-16478
                                                                                                                                  _____________________________________
                    First Name            Middle Name                  Last Name




31. Interests in insurance policies
   Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
   
   X    No
       Yes. Name the insurance company              Company name:                                                                               Beneficiary:                                        Surrender or refund value:
             of each policy and list its value. ....
                                                                      ___________________________________________ ____________________________                                                       $__________________
                                                                      ___________________________________________ ____________________________                                                       $__________________
                                                                      ___________________________________________ ____________________________                                                       $__________________

32. Any interest in property that is due you from someone who has died
   If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
   property because someone has died.
   
   X    No
       Yes. Give specific information. .............
                                                                                                                                                                                                     $_____________________


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
   Examples: Accidents, employment disputes, insurance claims, or rights to sue
   
   X    No
       Yes. Describe each claim. .....................
                                                                                                                                                                                                     $______________________

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
   to set off claims
   
   X    No
       Yes. Describe each claim. .....................
                                                                                                                                                                                                     $_____________________




35. Any financial assets you did not already list

   
   X    No
       Yes. Give specific information. ...........
                                                                                                                                                                                                     $_____________________



36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
   for Part 4. Write that number here ........................................................................................................................................................       2,000.00
                                                                                                                                                                                                     $_____________________




Part 5:          Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?

   
   X    No. Go to Part 6.
       Yes. Go to line 38.
                                                                                                                                                                                                   Current value of the
                                                                                                                                                                                                   portion you own?
                                                                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                                                                   or exemptions.

38. Accounts receivable or commissions you already earned


 X      No
       Yes. Describe ........
                                                                                                                                                                                                   $_____________________

39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

   
   X    No
       Yes. Describe ........                                                                                                                                                                     $_____________________



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Debtor 1            Antoine                       GardinerDocument
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                                                                                                            _____________________________________
                    First Name             Middle Name                 Last Name




40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

   
   X    No
       Yes. Describe ........
                                                                                                                                                                                                    $_____________________


41. Inventory
   
   X    No
       Yes. Describe ........                                                                                                                                                                      $_____________________


42. Interests in partnerships or joint ventures

   
   X    No
       Yes. Describe ........ Name of entity:                                                                                                                        % of ownership:
                                          ______________________________________________________________________                                                      ________%                     $_____________________
                                          ______________________________________________________________________                                                      ________%                     $_____________________
                                          ______________________________________________________________________                                                      ________%                     $_____________________


43. Customer lists, mailing lists, or other compilations
 
 X      No
      Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                
                X     No
                     Yes. Describe.........
                                                                                                                                                                                                    $____________________


44. Any business-related property you did not already list
   
   X    No
       Yes. Give specific
                              ______________________________________________________________________________________                                                                                $____________________
        information .........
                                          ______________________________________________________________________________________                                                                     $____________________
                                         ______________________________________________________________________________________                                                                     $____________________
                                         ______________________________________________________________________________________                                                                     $____________________
                                         ______________________________________________________________________________________                                                                     $____________________

                                          ______________________________________________________________________________________                                                                     $____________________

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
                                                                                                                                                                                                     0.00
                                                                                                                                                                                                    $____________________
   for Part 5. Write that number here ........................................................................................................................................................ 




Part 6:          Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                 If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
   
   X No. Go to Part 7.
    Yes. Go to line 47.
                                                                                                                                                                                                  Current value of the
                                                                                                                                                                                                    portion you own?
                                                                                                                                                                                                    Do not deduct secured claims
                                                                                                                                                                                                    or exemptions.
47. Farm animals
   Examples: Livestock, poultry, farm-raised fish
   
   X    No
       Yes ...........................

                                                                                                                                                                                                      $___________________



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                                                                                                               _____________________________________
                       First Name             Middle Name                   Last Name




48. Crops—either growing or harvested

     
     X     No
          Yes. Give specific
           information. ............                                                                                                                                                                            $___________________

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
     
     X     No
          Yes ...........................
                                                                                                                                                                                                                $___________________

50. Farm and fishing supplies, chemicals, and feed

     
     X     No
          Yes ...........................
                                                                                                                                                                                                                $___________________

51. Any farm- and commercial fishing-related property you did not already list

 X         No
          Yes. Give specific
           information. ............                                                                                                                                                                            $___________________

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
                                                                                                                                                                                                                 0.00
                                                                                                                                                                                                                $___________________
     for Part 6. Write that number here ........................................................................................................................................................ 



Part 7:             Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

     
     X     No
                                                                                                                                                                                                                 $________________
          Yes. Give specific
           information. ............                                                                                                                                                                              $________________
                                                                                                                                                                                                                  $________________


54. Add the dollar value of all of your entries from Part 7. Write that number here ...................................................................                                                          $________________




Part 8:             List the Totals of Each Part of this Form


55. Part 1: Total real estate, line 2 ....................................................................................................................................................................      3,956,000.00
                                                                                                                                                                                                                $________________

56. Part 2: Total vehicles, line 5                                                                                    1,000.00
                                                                                                                     $________________

57. Part 3: Total personal and household items, line 15                                                               5,000.00
                                                                                                                     $________________

58. Part 4: Total financial assets, line 36                                                                           2,000.00
                                                                                                                     $________________

59. Part 5: Total business-related property, line 45                                                                  0.00
                                                                                                                     $________________

60. Part 6: Total farm- and fishing-related property, line 52                                                         0.00
                                                                                                                     $________________

61. Part 7: Total other property not listed, line 54                                                             + $________________
                                                                                                                    0.00

62. Total personal property. Add lines 56 through 61. ...................                                             8,000.00
                                                                                                                     $________________ Copy personal property total                                           + $_________________
                                                                                                                                                                                                                  8,000.00


63. Total of all property on Schedule A/B. Add line 55 + line 62. .......................................................................................                                                        3,964,000.00
                                                                                                                                                                                                                $_________________



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                                  Debtor: Antoine Gardiner Case No: 19-16478


Attachment 1: Additional Real Property
     Location: 3862 W Girard Ave., Phila(Philadelphiacounty), Pennsylvania
     Nature of the Property: Investment property
     Current Value of the Property: $70,000.00
     Current Value of Debtor’s Ownership Interest: $70,000.00
     Nature of Debtor’s Ownership Interest: Fee Simple Ownership
     Parties with an Interest in the Property: Only the Debtor
     Community Property: no

     Location: 550 N 56th St., Philadelphia(Philadelphiacounty), Pennsylvania
     Nature of the Property:
     Current Value of the Property: $90,000.00
     Current Value of Debtor’s Ownership Interest: $90,000.00
     Nature of Debtor’s Ownership Interest: Fee Simple Ownership
     Parties with an Interest in the Property: Only the Debtor
     Community Property: no

     Location: 5923 Summer Street, Phiadelphia(Philadelphiacounty), Pennsylvania
     Nature of the Property: Investment property
     Current Value of the Property: $54,000.00
     Current Value of Debtor’s Ownership Interest: $54,000.00
     Nature of Debtor’s Ownership Interest: Fee Simple Ownership
     Parties with an Interest in the Property: Only the Debtor
     Community Property: no

     Location: 1712 N Ruby St., Philadelphia(Philadelphiacounty), Pennsylvania
     Nature of the Property: Investment property
     Current Value of the Property: $75,000.00
     Current Value of Debtor’s Ownership Interest: $75,000.00
     Nature of Debtor’s Ownership Interest: Fee Simple Ownership
     Parties with an Interest in the Property: Only the Debtor
     Community Property: no

     Location: 1721 N Ruby Street, Philadelphia(1721 N Ruby Streetcounty), Pennsylvania
     Nature of the Property: Investment property
     Current Value of the Property: $101,000.00
     Current Value of Debtor’s Ownership Interest: $101,000.00
     Nature of Debtor’s Ownership Interest: Fee Simple Ownership
     Parties with an Interest in the Property: Only the Debtor
     Community Property: no

     Location: 1767 N Reach St., Philadelphia(Philadelphiacounty), Pennsylvania
     Nature of the Property: Investment property
     Current Value of the Property: $70,000.00
     Current Value of Debtor’s Ownership Interest: $70,000.00
     Nature of Debtor’s Ownership Interest: Fee Simple Ownership
     Parties with an Interest in the Property: Only the Debtor
     Community Property: no

     Location: 1767 N Reach St., Philadelphia(Philadelphiacounty), Pennsylvania
     Nature of the Property: Investment property
     Current Value of the Property: $196,000.00
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                             Debtor: Antoine Gardiner Case No: 19-16478

Current Value of Debtor’s Ownership Interest: $196,000.00
Nature of Debtor’s Ownership Interest: Fee Simple Ownership
Parties with an Interest in the Property: Only the Debtor
Community Property: no

Location: 3915 Wyalusing Ave., Philadelphia(Philadelphiacounty), Pennsylvania
Nature of the Property:
Current Value of the Property: $1,000.00
Current Value of Debtor’s Ownership Interest: $100,000.00
Nature of Debtor’s Ownership Interest: Fee Simple Ownership
Parties with an Interest in the Property: Only the Debtor
Community Property: no

Location: 5454 W Montgomery Ave., Philadelphia(Philadelphiacounty), Pennsylvania
Nature of the Property: Investment property
Current Value of the Property: $95,000.00
Current Value of Debtor’s Ownership Interest: $95,000.00
Nature of Debtor’s Ownership Interest: Fee Simple Ownership
Parties with an Interest in the Property: Only the Debtor
Community Property: no

Location: 5465 W. Montgomery Ave., Philadelphia(Philadelphiacounty), Pennsylvania
Nature of the Property:
Current Value of the Property: $107,200.00
Current Value of Debtor’s Ownership Interest: $107,200.00
Nature of Debtor’s Ownership Interest: Fee Simple Ownership
Parties with an Interest in the Property: Only the Debtor
Community Property: no

Location: 6023 Spring St., Philadelphia(Philadelphiacounty), Pennsylvania
Nature of the Property: Investment property
Current Value of the Property: $55,000.00
Current Value of Debtor’s Ownership Interest: $55,000.00
Nature of Debtor’s Ownership Interest: Fee Simple Ownership
Parties with an Interest in the Property: Only the Debtor
Community Property: no

Location: 5634 Lebanon Ave., Philadelphia(Philadelphiacounty), Pennsylvania
Nature of the Property: Investment property
Current Value of the Property: $100,000.00
Current Value of Debtor’s Ownership Interest: $100,000.00
Nature of Debtor’s Ownership Interest:
Parties with an Interest in the Property:
Community Property: no

Location: 6008 Nassau Road, Philadelphia(Philadelphiacounty), Pennsylvania
Nature of the Property:
Current Value of the Property: $107,000.00
Current Value of Debtor’s Ownership Interest: $107,000.00
Nature of Debtor’s Ownership Interest:
Parties with an Interest in the Property:
Community Property: no
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                             Debtor: Antoine Gardiner Case No: 19-16478


Location: 5744 W Oxford St, Philadelphia(Philadelphiacounty),
Nature of the Property: Investment property
Current Value of the Property: $48,000.00
Current Value of Debtor’s Ownership Interest: $48,000.00
Nature of Debtor’s Ownership Interest: Fee Simple Ownership
Parties with an Interest in the Property: Only the Debtor
Community Property: no

Location: 3862 Conshohocken Ave., Philadelphia(Philadelphiacounty), Pennsylvania
Nature of the Property:
Current Value of the Property: $130,000.00
Current Value of Debtor’s Ownership Interest: $130,000.00
Nature of Debtor’s Ownership Interest: Fee Simple Ownership
Parties with an Interest in the Property: Only the Debtor
Community Property: no

Location: 5431 W Montgomery Ave., Philadelphia(Philadelphiacounty), Pennsylvania
Nature of the Property:
Current Value of the Property: $95,300.00
Current Value of Debtor’s Ownership Interest: $95,300.00
Nature of Debtor’s Ownership Interest: Fee Simple Ownership
Parties with an Interest in the Property: Only the Debtor
Community Property: no

Location: 5606 Wyndale Ave., Philadelphia(Philadelphiacounty),
Nature of the Property: Investment property
Current Value of the Property: $69,000.00
Current Value of Debtor’s Ownership Interest: $69,000.00
Nature of Debtor’s Ownership Interest: Fee Simple Ownership
Parties with an Interest in the Property: Only the Debtor
Community Property: no

Location: 5713 Wyndale Ave., Philadelphia(Philadelphiacounty), Pennsylvania
Nature of the Property:
Current Value of the Property: $153,000.00
Current Value of Debtor’s Ownership Interest: $153,000.00
Nature of Debtor’s Ownership Interest: Fee Simple Ownership
Parties with an Interest in the Property: Only the Debtor
Community Property: no

Location: 5900 W Oxford St., Philadelphia(Philadelphiacounty), Pennsylvania
Nature of the Property:
Current Value of the Property: $140,800.00
Current Value of Debtor’s Ownership Interest: $140,800.00
Nature of Debtor’s Ownership Interest: Fee Simple Ownership
Parties with an Interest in the Property: Only the Debtor
Community Property: no

Location: 6123 W Jefferson St., Philadelphia(Philadelphiacounty), Pennsylvania
Nature of the Property: Investment property
Current Value of the Property: $147,000.00
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                             Debtor: Antoine Gardiner Case No: 19-16478

Current Value of Debtor’s Ownership Interest: $147,000.00
Nature of Debtor’s Ownership Interest: Fee Simple Ownership
Parties with an Interest in the Property: Only the Debtor
Community Property: no

Location: 183 N 54th St., Philadelphia(Philadelphiacounty), Pennsylvania
Nature of the Property:
Current Value of the Property: $104,000.00
Current Value of Debtor’s Ownership Interest: $104,000.00
Nature of Debtor’s Ownership Interest: Fee Simple Ownership
Parties with an Interest in the Property: Only the Debtor
Community Property: no

Location: 1805 N 54th St., Philadelphia(Philadelphiacounty), Pennsylvania
Nature of the Property:
Current Value of the Property: $92,000.00
Current Value of Debtor’s Ownership Interest: $92,000.00
Nature of Debtor’s Ownership Interest: Fee Simple Ownership
Parties with an Interest in the Property: Only the Debtor
Community Property: no

Location: 1807 N 54th St., Philadelphia(Philadelphiacounty), Pennsylvania
Nature of the Property: Investment property
Current Value of the Property: $94,000.00
Current Value of Debtor’s Ownership Interest: $94,000.00
Nature of Debtor’s Ownership Interest: Fee Simple Ownership
Parties with an Interest in the Property: Only the Debtor
Community Property: no

Location: 1813 N 54th Street, Philadelphia(Philadelphiacounty), Pennsylvania
Nature of the Property: Investment property
Current Value of the Property: $95,900.00
Current Value of Debtor’s Ownership Interest: $95,900.00
Nature of Debtor’s Ownership Interest: Fee Simple Ownership
Parties with an Interest in the Property: Only the Debtor
Community Property: no

Location: 1833 N 54th St., Philadelphia(Philadelphiacounty), Pennsylvania
Nature of the Property:
Current Value of the Property: $108,000.00
Current Value of Debtor’s Ownership Interest: $108,000.00
Nature of Debtor’s Ownership Interest: Fee Simple Ownership
Parties with an Interest in the Property: Only the Debtor
Community Property: no

Location: 2119 N Redfield St., Philadelphia(Philadelphiacounty), Pennsylvania
Nature of the Property: Investment property
Current Value of the Property: $125,400.00
Current Value of Debtor’s Ownership Interest: $125,400.00
Nature of Debtor’s Ownership Interest: Fee Simple Ownership
Parties with an Interest in the Property: Only the Debtor
Community Property: no
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Location: 2228 Georges Lane, Philadelphia(Philadelphiacounty), Pennsylvania
Nature of the Property:
Current Value of the Property: $234,400.00
Current Value of Debtor’s Ownership Interest: $234,400.00
Nature of Debtor’s Ownership Interest: Fee Simple Ownership
Parties with an Interest in the Property: Only the Debtor
Community Property: no

Location: 2414 N 54th St., Philadelphia(Philadelphiacounty), Pennsylvania
Nature of the Property:
Current Value of the Property: $243,000.00
Current Value of Debtor’s Ownership Interest: $243,000.00
Nature of Debtor’s Ownership Interest: Fee Simple Ownership
Parties with an Interest in the Property: Only the Debtor
Community Property: no

Location: 3500 Spring Garden St., Philadelphia(Philadelphiacounty),
Nature of the Property:
Current Value of the Property: $338,000.00
Current Value of Debtor’s Ownership Interest: $338,000.00
Nature of Debtor’s Ownership Interest: Fee Simple Ownership
Parties with an Interest in the Property: Only the Debtor
Community Property: no

Location: 5043 Lancaster Ave., Philadelphia(Philadelphiacounty),
Nature of the Property: Investment property
Current Value of the Property: $50,000.00
Current Value of Debtor’s Ownership Interest: $50,000.00
Nature of Debtor’s Ownership Interest: Fee Simple Ownership
Parties with an Interest in the Property: Only the Debtor
Community Property: no

Location: 5114 Lancaster Ave., Philadelphia(Philadelphiacounty), Pennsylvania
Nature of the Property:
Current Value of the Property: $20,000.00
Current Value of Debtor’s Ownership Interest: $20,000.00
Nature of Debtor’s Ownership Interest: Fee Simple Ownership
Parties with an Interest in the Property: Only the Debtor
Community Property: no

Location: 5116 Lancaster Ave., Philadelphia(Philadelphiacounty),
Nature of the Property: Investment property
Current Value of the Property: $15,000.00
Current Value of Debtor’s Ownership Interest: $15,000.00
Nature of Debtor’s Ownership Interest: Fee Simple Ownership
Parties with an Interest in the Property: Only the Debtor
Community Property: no

Location: 526 N Preston St., Philadelphia(Philadelphiacounty), Pennsylvania
Nature of the Property: Investment property
Current Value of the Property: $52,000.00
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Current Value of Debtor’s Ownership Interest: $52,000.00
Nature of Debtor’s Ownership Interest: Fee Simple Ownership
Parties with an Interest in the Property: Only the Debtor
Community Property: no

Location: 1803 W Erie Ave., Philadelphia(Philadelphiacounty), Pennsylvania
Nature of the Property:
Current Value of the Property: $99,000.00
Current Value of Debtor’s Ownership Interest: $99,000.00
Nature of Debtor’s Ownership Interest:
Parties with an Interest in the Property:
Community Property: no
